                United States Court of Appeals
                                 For the First Circuit
                                    _____________________

No. 23-1765
                        NATALIE ANDERSON; ANDRE C. BISASOR,

                                      Plaintiffs - Appellants,

                                                 v.

  PATRICK DONOVAN; NH SUPREME COURT; NH RULES ADVISORY COMMITTEE;
          NH PROFESSIONAL CONDUCT COMMITTEE; LORRIE PLATT,

                                      Defendants - Appellees.
                                      __________________

                                              Before

                                      Barron, Chief Judge,
                                  Gelpí, Montecalvo, Rikelman,
                                   and Aframe, Circuit Judges.
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                                      ORDER OF COURT

                                       Entered: June 9, 2025

         Judgment entered in this matter on September 23, 2024, and pro se plaintiffs-appellants
Natalie Anderson and Andre C. Bisasor have made several post-judgment filings, including two
"petition[s] for panel rehearing and in the alternative en banc rehearing," a "supplement to clarify
...," a "motion for leave to exceed word limit for petition for rehearing," a "confidential motion to
seal [accompanying filed confidential ADA requests]" that is supported by two other papers, and
a "declaration and affidavit of technical failure of the court's ECF filing system ... ."

       The request for sealing is granted, and the filings that were placed under provisional seal
upon receipt will remain under seal.

        We have accepted all of the post-judgment papers for filing and construe them, collectively,
as a petition for panel rehearing and rehearing en banc. See Fed. R. App. P. 40(a) (petitions for
rehearing and rehearing en banc must be combined in a single document). We have considered
carefully each of the arguments developed in the petition.

       The petition for rehearing having been denied by the panel of judges who decided the case,
and the petition for rehearing en banc having been submitted to the active judges of this court and
a majority of the judges not having voted that the case be heard en banc, it is ordered that the
petition for rehearing and petition for rehearing en banc be denied.

        Mandate shall enter forthwith. See Fed. R. App. P. 41(b) (court may hasten entry of
mandate). This order has addressed all of plaintiffs-appellants' post-judgment filings, and
plaintiffs-appellants are strongly discouraged from making further filings in this fully adjudicated
matter.


                                                     By the Court:

                                                     Anastasia Dubrovsky, Clerk


cc:
Natalie Anderson
Andre C. Bisasor
John M. Formella
